      Case: 1:24-cv-00756-JPC Doc #: 29 Filed: 01/10/25 1 of 2. PageID #: 178




                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO

A.S., as parent and guardian of                      )
JANE DOE, a Minor                                    )       CASE NO.: 1:24-CV-00756
                                                     )
                       Plaintiff,                    )       JUDGE: PHILIP CALABRESE
                                                     )
       vs.                                           )
                                                     )
MAPLETON LOCAL SCHOOL DISTRICT,                      )
et al.                                               )
                                                     )
                       Defendants.                   )

                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL


       Now comes Plaintiff, by and through undersigned counsel and pursuant to Federal Civil

Rule 41, hereby voluntarily dismisses all counts against Defendants, Black River Local School

District, Black River Local School District Board of Education, Robert Clarico, and Courtney

Dieter with prejudice, at Plaintiff’s cost. Plaintiff has now dismissed her claims against all

Defendants, hereby dismissing this matter in its entirety.



                                                   Respectfully Submitted

                                                   /s/ Tyler J. Walchanowicz
                                                   ERIC F. LONG (0093197)
                                                   TYLER J. WALCHANOWICZ (0100115)
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     Case: 1:24-cv-00756-JPC Doc #: 29 Filed: 01/10/25 2 of 2. PageID #: 179




                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was filed on this 10th day of January, 2025,

by CM/ECF, which will send a notification of electronic filing (NEF) to the parties of record.




                                                   /s/ Tyler J. Walchanowicz
                                                   TYLER J. WALCHANOWICZ (0100115)
